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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA ) INFORMATION NO. ~
ve ) 18 U.S.C. § 1343 WG@& 7

) Wire Fraud
WILLIAM HAROLD RICHARDS )

THE UNITED STATES ATTORNEY CHARGES THAT:

At all times relevant to this Information:
GENERAL ALLEGATIONS

1. Glynn County Public Works “(GCPW’) is the department responsible for
maintaining the roads, drainage structures, traffic control devices, vehicles and
equipment, and solid waste services in Glynn County, Georgia, within the Southern
District of Georgia.

2. Defendant WILLIAM HAROLD RICHARDS was employed as a
supervisor at GCPW. As part of his official duties, he was responsible for reconciling
and coding purchases made with department purchase cards. His official duties
required access to employee purchase cards and department billing permissions.

3. As. described herein, from approximately June 2021 until September
2023, Defendant WILLIAM HAROLD RICHARDS did fraudulently and without
legal authority obtain hundreds of thousands of dollars from GCPW by means of false
and fraudulent pretenses, representations, and promises. He then did use that

money for his own personal use and benefit.
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COUNT ONE
Wire Fraud
18 U.S.C. § 1343

4, Paragraphs 1 through 3 of this Information are incorporated as if fully
set forth herein.

5. From at least in or around June 2021 until September 2023, in Glynn
County, within the Southern District of Georgia, and elsewhere, the Defendant,
WILLIAM HAROLD RICHARDS, knowingly executed and attempted to execute a
scheme. and artifice to defraud Glynn County Public Works (‘“GCPW”) to obtain money

and property by means of materially false and fraudulent pretenses, representations,

and promises.

6. It was part of the scheme and artifice that Defendant WILLIAM
HAROLD RICHARDS would and did use his position as a GCPW employee to access
employee purchase cards and department billing permissions.

7. It was further part of the scheme that WILLIAM HAROLD
RICHARDS would and did fraudulently charge his own employee purchase card and
cards belonging to other employees.

8. It was further part of the scheme that WILLIAM HAROLD
RICHARDS would and did create a fictitious entity to conceal his fraudulent billings
to GCPW employee purchase cards. The fictitious entity was associated with an
account controlled by Defendant on the Square platform, a business technology

platform often used to accept and process payments from customers.
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9. It was further part of the scheme that WILLIAM HAROLD
RICHARDS would and did transfer money from his fictitious Square account
through interstate wires to his personal bank accounts.

10. It was a purpose of the scheme for WILLIAM HAROLD RICHARDS
to enrich himself by obtaining money and property belonging to GCPW for his own
use and benefit. Defendant used the proceeds of his fraudulent scheme to make
numerous personal purchases, including the purchase of lottery tickets.

THE EXECUTION OF THE SCHEME

11. Onor about September 5, 2023, in the Southern District of Georgia, and
elsewhere, Defendant WILLIAM HAROLD RICHARDS, for the purpose of
executing the scheme and artifice described above, caused to be transmitted in
interstate commerce, by means of a wire communication, certain signs, signals, and
sounds: that is, Defendant WILLIAM HAROLD RICHARDS caused to be
transmitted an electronic payment through the payment service Square, located in
California, to his personal bank account located in Texas, with withdrawals of
fraudulent proceeds taking place within Georgia, all by means of interstate wire

communication. All in violation of Title 18, United States Code, Section 1343.
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